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                                               August 6, 2024

   VIA ECF
   The Honorable Georgette Castner
   United States District Judge
   Clarkson S. Fisher Bldg. & U.S. Courthouse
   402 E. State Street
   Trenton, NJ 08608

   Re: Edwin H. Stier, Esq, as Wind Down Trustee for MLS Berkowitz Investments, LLC v. Diego
   Possebon, et al.; Case No. 24-cv-04647-GC-RLS

   Dear Judge Castner:

           We represent Defendant REAG USA, LLC (“REAG”) in the above-referenced matter.
   Pursuant to Your Honor’s individual rules of practice, we write to join Co-Defendant Banco
   BTG Pactual S.A.’s (“BTG”) July 31, 2024 correspondence requesting a pre-motion
   conference on an anticipated motion to dismiss for lack of personal jurisdiction and failure to
   state claims for which relief can be granted under Federal Rule of Civil Procedure 12(b)(6).
   See D.E. 154. Plaintiff has filed a 104-page Complaint that sues approximately 200 defendants.
   See D.E. 7. REAG is referenced in only three (3) paragraphs of the Complaint:

       1. Paragraph 87, which alleges that REAG “is a is a Florida limited liability company with
          its principal business address at 5401 S Kirkman Road, Suite 135, Orlando, Florida
          32819”;

       2. Paragraph 376, which alleges that: “[b]etween March and May of 2023, Empire Strong
          [a now defaulted Co-Defendant1] issued wire transfers in the total amounts reflected [in
          a table] below to the identified recipients who or which provided no services or benefit
          to Gerald or MLS. Upon information and belief, these wires were for the direct or
          indirect benefit of Possebon and his co-conspirators.”;

               a. Pursuant to a chart contained in this paragraph, Plaintiff alleges that REAG
                  received a wire transfer in the amount of $83,061.00; and

       3. Paragraph 435, which alleges that REAG, along with approximately 110 other
          Defendants “received funds or proceeds associated with the fraudulent scheme”.

       These allegations are neither sufficient to state a prima facie case of personal jurisdiction
   over REAG, nor are they sufficient to state plausible claims against REAG. Moreover, the
   Complaint fails to allege sufficient ultimate facts establishing that jurisdiction and venue are
   proper in the District Court for the District of New Jersey, versus Bankruptcy Court, pursuant
   to the doctrine set forth in Princess Lida of Thurn and Taxis v. Thompson, 305 U.S. 456, 59 S.

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     On May 21, 2024, a Clerk’s Entry of Default was entered as to Empire Strong International Business
   Intermediation One, LLC, (“Empire One”) and Empire Strong International Business Intermediation, LLC,
   (“Empire Strong”) for failure to plead or otherwise defend.

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   Ct. 275, 83 L. Ed. 285 (1939). It is also apparent from the face of the Complaint that Plaintiff
   has failed to conduct the required due diligence in order to state plausible claims for relief
   based on allegations of ultimate facts, and has instead plead allegations based upon mere
   speculation and conjecture.

   Lack of Personal Jurisdiction

           REAG is a Foreign Limited Liability Company based in Brazil and incorporated in the
   state of Delaware. It is registered in the state of Florida as a Foreign Company due to its
   headquarters being in Delaware. It does not have any branches or offices in New Jersey. It was
   served with process pursuant to its registered agent’s address in Florida. REAG is therefore not
   “at home” in New Jersey, and thus, is not subject to general jurisdiction here. See Daimler AG
   v. Brauman, 571 U.S. 117, 127 (2014) (holding that a defendant is subject to general personal
   jurisdiction only where it is “at home”).

           Nor is REAG subject to specific jurisdiction in New Jersey. Plaintiff has not alleged,
   nor can he prove, any relevant conduct that REAG purposefully directed at New Jersey such
   as to establish sufficient “minimum contacts” here or that his claims “arise out of or relate to”
   those contacts. Burger King Corp. v. Rudzewicz, 471 U.S. 462, 472-73 (1985). There are no
   allegations that the wire transfers in question were made to or from New Jersey or that REAG
   participated in any “fraudulent scheme” perpetrated in New Jersey. The Supreme Court has
   made clear that the focus of personal jurisdiction is on the conduct of the defendant in
   question—not the location of the plaintiff, the location of the injury, or the conduct of other
   defendants. See Walden v. Fiore, 571 U.S. 277, 285 (2014). Here, there are simply no
   allegations (and certainly no proof) of any conduct by REAG relating to these accounts that
   occurred in or was purposefully directed at New Jersey.

           Additionally, the undersigned has become aware that MLS Berkowitz Investments,
   LLC (“MLS”), the entity represented by the wind down Trustee in this matter initiated a
   separate, related lawsuit in Brazil in March of 2023 against several of the Defendants in this
   matter, titled “Motion of Anticipated Evidence Production” under Case No. 1166978-
   38.2023.8.26.0100, (the “related lawsuit”) in which MLS has proposed an action for the
   anticipated production of evidence against, inter alia, Diego Possebon, Larissa Carvalho
   Possebon, Metalsur Industria E Comercio De Acos LTDA; and Empire Strong Negocios
   LTDA.

           The filing of this related lawsuit in Brazil, which predates the instant lawsuit, against
   multiple parties who are also Defendants in this lawsuit, supports REAG’s position that
   jurisdiction and venue for Plaintiffs claims are in a foreign jurisdiction, namely Brazil, and not
   in New Jersey. Moreover, Plaintiff’s pursuit of relief for the same or similar claims in multiple
   different jurisdictions against the same or similar parties is inappropriate to the extent that
   Plaintiff is seeking the same damages in these lawsuits. Moreover, the prosecution of multiple
   lawsuits proceeding simultaneously may lead to inconsistent verdicts. As such, transfer of this
   lawsuit to the foreign jurisdiction, i.e. Brazil, may be appropriate or at the very least, a stay
   should be imposed until the resolution of the related lawsuit.

   Failure to State a Claim




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           To survive a motion to dismiss for failure to state a claim, a complaint must contain
   “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
   face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
   U.S. 544, 570 (2007)). Although a court should assume the truth of factual allegations that are
   “well pleaded,” it should not accept as true any “legal conclusion couched as a factual
   allegation.” Iqbal, 556 U.S. at 678-79.

           Plaintiff is suing REAG along with hundreds of other “Recipient Defendants” for
   allegedly receiving wire transfer funds which were “the product of an unlawful scheme”. See
   Complaint, ¶ 435. To state a claim for the Recovery of Fraudulent Transfers pursuant to 11
   U.S.C. § 550(a)) the trustee must first establish that a transfer is “avoidable” under sections
   544, 545, 547, 548, 549, 553(b), or 724(a) of the Bankruptcy Code. Once the transfer is deemed
   avoidable, the trustee may recover the property transferred or its value from the initial
   transferee or the entity for whose benefit the transfer was made, or from any immediate or
   mediate transferee of such initial transferee such a claim. However, the trustee may not recover
   from a transferee that took for value, in good faith, and without knowledge of the voidability
   of the transfer avoided, or from any immediate or mediate good faith transferee of such
   transferee.

           Here, the Complaint is devoid of any allegations establishing that the alleged
   transactions and/or transfers between Co-Defendant, Empire Strong, and REAG constitute
   “voidable transfers,” or that REAG had any knowledge that these alleged transfers were
   fraudulent and/or not for the benefit of MLS. Indeed, the Complaint fails to allege any facts
   whatsoever that differentiates the actions or inactions of any of the individual “Receiving
   Defendants” with respect to the alleged wire transfers in a way that puts each Defendant on
   notice as the of what the basis of the claim is and the grounds upon which it rests, as required
   by Federal Rule of Civil Procedure 8(a)(2). Moreover, none of the Complaint’s three
   allegations that mention REAG allege anything about REAG’s knowledge of the fraud, let
   alone allow for a “strong inference” of actual knowledge as compared to the “Aiding and
   Abetting Defendants”. Such conclusory group pleading allegations are insufficient to satisfy
   Plaintiff’s pleading requirements. See, e.g., In re Norvergence, Inc., 405 B.R. at 726-27.

   REAG therefore respectfully requests the opportunity to discuss these issues at a pre-motion
   conference.2

                                                                           Sincerely,

                                                                           Barakat + Bossa

                                                                           /s/ Julieta Gomez de Mello
                                                                           For the Firm


   cc: Roger B. Cowie (pro hac vice) (via ECF)
   All parties entitled to notice (via ECF)

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    To the extent that Plaintiff contends that REAG is also one of the 150-plus “Recipient Defendants,” REAG will
   also move for dismissal of such allegation for failure to state a claim and improper commingling of claims against
   multiple Defendants.

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